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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES                       )
                                    )
v.                                  )               1:21-cr-38
                                    )
BARNETT                             )
____________________________________)

     UNOPPOSED MOTION FOR EXTENSION TO FILE REPLY TO THE
GOVERNMENT’S RESPONSE TO DEFENDANT’S RULE 29 AND RULE 33 MOTIONS

TO THE HONORABLE COURT:

       Defendant Richard Barnett respectfully requests that the Court grant his unopposed

request for an extension to file a reply to the Government’s response to Defendant’s Rule 29 and

Rule 33 Motions until March 27, 2023.

       Undersigned counsel conferred with counsel for the Government and they do not object.

Dated: March 13, 2023                                        Respectfully submitted

                                                             /s/ Jonathan Gross
                                                             Jonathan Gross
                                                             The Clevenger Firm
                                                             2833 Smith Ave, Suite 331
                                                             Baltimore, MD 21209
                                                             (443) 813-0141
                                                             jon@clevengerfirm.com

                                CERTIFICATE OF SERVICE

   I hereby certify on this 13 day of March 2023, a copy of the foregoing was served upon all

             parties as forwarded through the Electronic Case Filing (ECF) System.

                                        /s/ Jonathan Gross
                                          Jonathan Gross
